           Case 2:19-bk-50766                        Doc 20            Filed 03/12/19 Entered 03/12/19 18:34:15                  Desc Main
                                                                      Document      Page 1 of 81




 Fill in this information to identify the case:

 Debtor name         Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)         2:19-bk-50766
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 12, 2019                          X /s/ John J. Brannelly
                                                                       Signature of individual signing on behalf of debtor

                                                                       John J. Brannelly
                                                                       Printed name

                                                                       Former Director
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            Case 2:19-bk-50766                                   Doc 20              Filed 03/12/19 Entered 03/12/19 18:34:15                                                          Desc Main
                                                                                    Document      Page 2 of 81
 Fill in this information to identify the case:

 Debtor name            Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF OHIO

 Case number (if known)               2:19-bk-50766
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              3,823.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              3,823.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,169,012.18


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,169,012.18




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                         Desc Main
                                                                     Document      Page 3 of 81
 Fill in this information to identify the case:

 Debtor name         Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)         2:19-bk-50766
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            Classic Business
           3.1.     JP Morgan                                               Checking                        5556                                     $1,823.00




           3.2.     The Huntington National Bank                            checking                        6294                                     Unknown




           3.3.     Wequassett                                              checking                        6343                                     Unknown



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $1,823.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                      Desc Main
                                                                     Document      Page 4 of 81
 Debtor         Exceptional Innovation, Inc.                                                       Case number (If known) 2:19-bk-50766
                Name


        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                   0.00   -                                   0.00 = ....                   Unknown
                                              face amount                            doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                      $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     The SmarTV Company LLC (see attached
           15.1.     balance sheet dated 2/10/19)                                      100            %     N/A                                 Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                      $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last            Net book value of         Valuation method used   Current value of
                                                      physical inventory          debtor's interest         for current value       debtor's interest
                                                                                  (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           see attached Balance
           Sheet                                                                           $19,619.00                                           Unknown




 23.       Total of Part 5.                                                                                                                      $0.00
           Add lines 19 through 22. Copy the total to line 84.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                   Desc Main
                                                                     Document      Page 5 of 81
 Debtor         Exceptional Innovation, Inc.                                                     Case number (If known) 2:19-bk-50766
                Name



 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furniture, fixtures, and equipment                                      Unknown                                            Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer system (hardware and software);
           see attached Balance Sheet                                                     Unknown                                            Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                       $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            Case 2:19-bk-50766                       Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                Desc Main
                                                                     Document      Page 6 of 81
 Debtor         Exceptional Innovation, Inc.                                                  Case number (If known) 2:19-bk-50766
                Name


        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value        debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    10 vehicles (see attached titles and/or
                     memorandum of title); unknown as to
                     which of these vehicles are still owned
                     by the Debtor; to supplement                                      Unknown                                            Unknown



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                               $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            see attached as possible patents and patent
            applications                                                               Unknown                                            Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 2:19-bk-50766                       Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                         Desc Main
                                                                     Document      Page 7 of 81
 Debtor         Exceptional Innovation, Inc.                                                     Case number (If known) 2:19-bk-50766
                Name

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                         $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                       Current value of
                                                                                                                                       debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                                  2,000.00 -                                  0.00 =
            Loan Receivable                                            Total face amount       doubtful or uncollectible amount                    $2,000.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            See, Statement of Financial Affairs, #7                                                                                                      $0.00
            Nature of claim
            Amount requested                                              $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                   $2,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15               Desc Main
                                                                     Document      Page 8 of 81
 Debtor         Exceptional Innovation, Inc.                                                 Case number (If known) 2:19-bk-50766
                Name


               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
            Case 2:19-bk-50766                           Doc 20            Filed 03/12/19 Entered 03/12/19 18:34:15                                        Desc Main
                                                                          Document      Page 9 of 81
 Debtor          Exceptional Innovation, Inc.                                                                        Case number (If known) 2:19-bk-50766
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,823.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                    $2,000.00

 91. Total. Add lines 80 through 90 for each column                                                                $3,823.00         + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $3,823.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 10 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 11 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 12 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 13 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 14 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 15 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 16 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 17 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 18 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 19 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 20 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 21 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 22 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 23 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 24 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 25 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 26 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 27 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 28 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 29 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 30 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 31 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 32 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 33 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 34 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 35 of 81
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                Desc Main
                                                                     Document     Page 36 of 81
 Fill in this information to identify the case:

 Debtor name          Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)              2:19-bk-50766
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        Deutsche Bank Trust
 2.1                                                  Describe debtor's property that is subject to a lien                     Unknown                  Unknown
        Company Americas
        Creditor's Name                               all business assets
        60 Wall Stret, 16th Floor
        New York, NY 10005
        Creditor's mailing address                    Describe the lien
                                                      Perfected Lien
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 2:19-bk-50766                       Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                  Desc Main
                                                                     Document     Page 37 of 81
 Fill in this information to identify the case:

 Debtor name         Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)           2:19-bk-50766
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Ohio Bureau of Workers'                                   Check all that apply.
           Compensation                                                 Contingent
           Attn. Law Section Bankruptcy Unit                            Unliquidated
           P.O. Box 15667                                               Disputed
           Columbus, OH 43215
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   30064                               Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                           Desc Main
                                                                     Document     Page 38 of 81
 Debtor       Exceptional Innovation, Inc.                                                                    Case number (if known)          2:19-bk-50766
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Ohio Department of Job & Family                           Check all that apply.
           Services                                                     Contingent
           Office of Legal Services                                     Unliquidated
           30 E. Broad Street, 31st Floor                               Disputed
           Columbus, OH 43215
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Ohio Department of Taxation                               Check all that apply.
           Attn: Bankruptcy Division                                    Contingent
           PO Box 530                                                   Unliquidated
           Columbus, OH 43216-0530                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $120,000.00
           American Express Travel Related Services                                    Contingent
           200 Vesey St.                                                               Unliquidated
           New York, NY 10285                                                          Disputed
           Date(s) debt was incurred
                                                                                                  Breach of Credit Agreement, Supreme Court County
                                                                                   Basis for the claim:
           Last 4 digits of account number                                         of New York Case No. 626410/2018
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $9,083.00
           Andres Umana                                                                Contingent
           9140 Burnet Ave., #3                                                        Unliquidated
           North Hills, CA 91343                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     business debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $25,045.00
           ARINC DIRECT                                                                Contingent
           2551 Riva Road M/S 6-2566                                                   Unliquidated
           Annapolis, MD 21401-7465                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     business debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 39 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,113.00
          Billings & Associates, LLC                                            Contingent
          P.O. Box 1557                                                         Unliquidated
          Westerville, OH 43086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $662,740.38
          Blueport Inc.                                                         Contingent
          2 Annette Road                                                        Unliquidated
          Foxboro, MA 02035                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $72,016.08
          Brown George Ross LLP                                                 Contingent
          2121 Avenue of the Stars, 28th Floor                                  Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred
                                                                                             Cert. of Judgment, Delaware County Common Pleas
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Court, Case No. 18 CJ 66 015
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,400.00
          CAE SimuFlite Inc                                                     Contingent
          2929 West Airfield Drive                                              Unliquidated
          DFW Airport                                                           Disputed
          Dallas, TX 75261-4508
                                                                             Basis for the claim:    business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Cameron Mokas                                                         Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,128.00
          CHEFFY PASSIDOMO                                                      Contingent
          821 Fifth Ave. South                                                  Unliquidated
          Naples, FL 34102                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Christopher McVay                                                     Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 40 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,428.00
          CMC Industrial I, LLC                                                 Contingent
          P.O. Box 72306                                                        Unliquidated
          Cleveland, OH 04419-2002                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $912.00
          CSC                                                                   Contingent
          251 Little Falls Drive                                                Unliquidated
          Wilmington, DE 19808-1674                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number       0173
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,234.00
          CT Corporation                                                        Contingent
          3 University Plaza Drive Suite 506                                    Unliquidated
          Hackensack, NJ 07601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number       1458
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,745.00
          Daniel Wolf                                                           Contingent
          2235 Old East Pine Trail                                              Unliquidated
          Midland, MI 48642                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          David Miller                                                          Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,750.00
          Dell Financial Services                                               Contingent
          PO Box 5292                                                           Unliquidated
          Carol Stream, IL 60197-5292                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,644.00
          DLA Piper LLP                                                         Contingent
          P.o. Box 75190                                                        Unliquidated
          Baltimore, MD 21275                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number       2014
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 41 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Eric Wilder                                                           Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,759.30
          Euler Hermes North America Ins. Co.                                   Contingent
          800 Red Brook Blvd.                                                   Unliquidated
          Owings Mills, MD 21117                                                Disputed
          Date(s) debt was incurred
                                                                                          Breach of credit agreement, Franklin County
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Common Pleas Court Case no. 18 CV 10031
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,134.00
          Flyingviolin, Inc                                                     Contingent
          1750 Manhattan Ave.                                                   Unliquidated
          Hermosa Beach, CA 90254                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,302.00
          GANFER SHORE LEEDS & ZAUDERER LLP                                     Contingent
          360 Lexington Avenue                                                  Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number       4287
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Guest Tek Interactive Entertainment Ltd.                              Contingent
          c/o Baker & Hostetler LLP                                             Unliquidated
          200 Civic Center Drive, Suite 1200                                    Disputed
          Columbus, OH 43215
                                                                             Basis for the claim:    Buxiness Debt; US Dist. Ct. Case No. 17 CV 963
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Howard Watts                                                          Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Jamie Forsythe                                                        Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 42 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,231.00
          JC & COMPANY                                                          Contingent
          125 West Mulberry Street                                              Unliquidated
          Lancaster, OH 43130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,903.00
          JEPPESEN SANDERSON                                                    Contingent
          55 Inverness Drive East                                               Unliquidated
          Englewood, CO 80016                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Joseph Kobalka                                                        Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Kenny NG                                                              Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Matt Stephey                                                          Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,076.00
          MedAire                                                               Contingent
          4722 N 24th St. Ste. 450                                              Unliquidated
          Phoenix, AZ 85016-4854                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,129.00
          MERRY KNOWLTON                                                        Contingent
          1309 Azalea Drive                                                     Unliquidated
          Reynoldsburg, OH 43068                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 43 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,654.00
          Metropolis IP Inc.                                                    Contingent
          325 3 St. SE, Unit 1209                                               Unliquidated
          Calgary, AB T2G 0T9                                                   Disputed
          CANADA
                                                                                            Business debt, Franklin County Common Pleas Court
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Case No. 18 CV 6765
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Michael Hill                                                          Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Michael Schertzer                                                     Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Nicholas Dalton                                                       Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Nora Merhar                                                           Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $335.00
          Odyssey Electronics, LLC                                              Contingent
          5167 wagon Wheel lane                                                 Unliquidated
          Columbus, OH 43230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number       3366
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,288.45
          Perez & Morris LLC                                                    Contingent
          800 Ravine's Edge Court, Suite 300                                    Unliquidated
          Columbus, OH 43235                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 44 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Potential Employee Claims                                             Contingent
          (to be supplemented; privacy concerns)                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    (to be supplemented; privacy concerns)
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,130.00
          Preston Williamson                                                    Contingent
          2808 Jason Ct                                                         Unliquidated
          Thousand Oaks, CA 91362                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,022.00
          Ralph Salisbury                                                       Contingent
          3886 Aztec Ct.                                                        Unliquidated
          Simi Valley, CA 93063                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Richard Conley                                                        Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          Rober Freeman                                                         Contingent
          4130 E. 5th Ave.                                                      Unliquidated
          Midlothian, VA 23113                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,473.00
          Robert Greene                                                         Contingent
          10750 Wilshire Blvd., Suite 406                                       Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,016.25
          Robert Half International                                             Contingent
          12400 Collection Cir. Dr.                                             Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                                            Breach of Contract, Delaware County Common Pleas
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Court Case No. 18 CV H 11 0628
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 45 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,033.00
          ROCKWELL COLLINS                                                      Contingent
          400 Collins Road                                                      Unliquidated
          Cedar Rapids, IA 52498                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Rosen Hotels & Resorts                                                Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Ryan Carr                                                             Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,465.00
          ScanSource Inc.                                                       Contingent
          6 Logue Ct.                                                           Unliquidated
          Greenville, SC 29615                                                  Disputed
          Date(s) debt was incurred
                                                                                            Business debt; Delaware County Municipal Court
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Case No. 18 CVF 1758
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Sharon Miller                                                         Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,311.00
          Signature Flight Support Corp                                         Contingent
          201 South Orange Avenue, Suite 1100                                   Unliquidated
          Orlando, FL 32801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,345,308.00
          SM Aviation Leasing LLC                                               Contingent
          480 Olde Worthington Road, Suite 350                                  Unliquidated
          Columbus, OH 43082                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 46 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,647.00
          ST INVESTMENT PROPERTIES                                              Contingent
          480 Olde Worthington Road, Suite 350                                  Unliquidated
          Columbus, OH 43082                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Steve Campbell                                                        Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Tammy Tull Oakley                                                     Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,901.00
          TEKsystems, Inc.                                                      Contingent
          5115 Parkcenter Ave                                                   Unliquidated
          Dublin, OH 43017                                                      Disputed
          Date(s) debt was incurred
                                                                                            Business debt, Delaware County Municipal Court
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Case No. 18 CVF 01568
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Terrance Malone                                                       Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,020.00
          Terry Casto                                                           Contingent
          411 Walnut St., #2606                                                 Unliquidated
          Green Cove Springs, FL 32043                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Terry Keith                                                           Contingent
          c/o Gregory R. Mansell                                                Unliquidated
          1457 S. High St                                                       Disputed
          Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                     Desc Main
                                                                     Document     Page 47 of 81
 Debtor       Exceptional Innovation, Inc.                                                            Case number (if known)            2:19-bk-50766
              Name

 3.60      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,307.00
           Teterboro Airport                                                    Contingent
           111 Industrial Ave                                                   Unliquidated
           Teterboro,, NJ 07608                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,610.00
           The Behal Law Group LLC                                              Contingent
           501 South High street                                                Unliquidated
           Columbus, OH 43215                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,290.00
           The Immaculate Touch                                                 Contingent
           365 Boston Post Road, #360                                           Unliquidated
           Columbus, OH 43219                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Thomas Leone                                                         Contingent
           c/o Gregory R. Mansell                                               Unliquidated
           1457 S. High St                                                      Disputed
           Columbus, OH 43207
                                                                             Basis for the claim:    Business debt; US District Court Case No. 19-CV-466
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $308,366.00
           Tonkon Torp LLP                                                      Contingent
           888 SW Fifth Ave., Suite 1600                                        Unliquidated
           Portland, OR 97204                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $330.00
           Treasurer State of Ohio                                              Contingent
           c/o Seif & McNamee                                                   Unliquidated
           110 E. Emmitt Avenue                                                 Disputed
           Waverly, OH 45690
                                                                             Basis for the claim:    business debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $272,732.72
           Twentieth Centry Fox Film Corp.                                      Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                               Desc Main
                                                                     Document     Page 48 of 81
 Debtor       Exceptional Innovation, Inc.                                                        Case number (if known)        2:19-bk-50766
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       Aaron Cole
           2323 Park Ave                                                                         Line   3.45
           Cincinnati, OH 45206
                                                                                                        Not listed. Explain

 4.2       Aaron Cole
           2323 Park Ave                                                                         Line   3.56
           Cincinnati, OH 45206
                                                                                                        Not listed. Explain

 4.3       Aaron Cole
           2323 Park Ave                                                                         Line   3.49
           Cincinnati, OH 45206
                                                                                                        Not listed. Explain

 4.4       Baker & Hostetler
           200 Civic Denter Drive, Suite 1200                                                    Line   3.22
           Columbus, OH 43215
                                                                                                        Not listed. Explain

 4.5       Carl Zapffee, Esq
           Zwicker & Associates, P.C.                                                            Line   3.1
           100 Corporate Woods, Suie 230
                                                                                                        Not listed. Explain
           Rochester, NY 14623

 4.6       Frank C. Santoiemmo
           4760 Richmond Rd., Suite 200                                                          Line   3.11
           Olmsted Falls, OH 44138
                                                                                                        Not listed. Explain

 4.7       James M. Williams
           158 N. Broadway                                                                       Line   3.32
           New Philadelphia, OH 44663
                                                                                                        Not listed. Explain

 4.8       Neil Sander
           2 Miranova Place, Suite 700                                                           Line   3.19
           Columbus, OH 43215
                                                                                                        Not listed. Explain

 4.9       Ohio Atty General, Collec. Enforcement
           Attn: Bankruptcy Unit                                                                 Line   2.4
           150 East Gay Street, 21st Floor
                                                                                                        Not listed. Explain
           Columbus, OH 43215

 4.10      Ohio Atty General, Collec. Enforcement
           Attn: Bankruptcy Unit                                                                 Line   2.2
           150 East Gay Street, 21st Floor
                                                                                                        Not listed. Explain
           Columbus, OH 43215

 4.11      Ohio Atty General, Collec. Enforcement
           Attn: Bankruptcy Unit                                                                 Line   2.3
           150 East Gay Street, 21st Floor
                                                                                                        Not listed. Explain
           Columbus, OH 43215

 4.12      Walter & Haverfield PLL
           c/o Allison E. Cole                                                                   Line   3.32
           50 Public Square, 1300 Terminal Tower
                                                                                                        Not listed. Explain
           Cleveland, OH 44113-2253


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                             Desc Main
                                                                     Document     Page 49 of 81
 Debtor       Exceptional Innovation, Inc.                                                        Case number (if known)       2:19-bk-50766
              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  3,169,012.18

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    3,169,012.18




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 13 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                      Desc Main
                                                                     Document     Page 50 of 81
 Fill in this information to identify the case:

 Debtor name         Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)         2:19-bk-50766
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   insufficient information
             lease is for and the nature of               to determine whether
             the debtor's interest                        the leases/contracts set
                                                          forth in the attached
                                                          are executory; copies
                                                          of all leases/contracts
                                                          available upon request.
                  State the term remaining

             List the contract number of any                                         See attached
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                  Desc Main
                                                                     Document     Page 51 of 81
 Fill in this information to identify the case:

 Debtor name         Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)         2:19-bk-50766
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      The SmarTV                                                                                                             D
             Company LLC                       co-debtor on several of the subject debts                                            E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                              Desc Main
                                                                     Document     Page 52 of 81


 Fill in this information to identify the case:

 Debtor name         Exceptional Innovation, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)         2:19-bk-50766
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2019 to Filing Date                                                                        net income from
                                                                                                   Other    business


       For prior year:                                                                             Operating a business                            $-1,783,086.00
       From 1/01/2018 to 12/31/2018                                                                         net income from
                                                                                                   Other    business


       For year before that:                                                                       Operating a business                              $-860,156.00
       From 1/01/2017 to 12/31/2017                                                                         net income from
                                                                                                   Other    business

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                   Desc Main
                                                                     Document     Page 53 of 81
 Debtor       Exceptional Innovation, Inc.                                                              Case number (if known) 2:19-bk-50766



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               see attached check detail                                                                      Unknown                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    see attached check detail                                                                      Unknown


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    American Express Travel                           Civil                      Supreme Court County of                        Pending
               Related Services v.                                                          New York                                       On appeal
               Exceptional Innovation, Inc.
                                                                                                                                           Concluded
               656410/2018

       7.2.    Browne George Ross LLP v.                         Civil                      Delaware County Common                         Pending
               Exceptional Innovation Inc.                                                  Pleas Court                                    On appeal
               18 CJ 66 015                                                                 91 North Sandusky Street
                                                                                                                                           Concluded
                                                                                            Delaware, OH 43015




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                             Desc Main
                                                                     Document     Page 54 of 81
 Debtor       Exceptional Innovation, Inc.                                                              Case number (if known) 2:19-bk-50766



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.3.    CMC Industrial I, LLC v.                          Civil                     Franklin County Municipal                   Pending
               Exceptional Innovation Inc.                                                 Court                                       On appeal
               2018 CVG 0-42638                                                            375 S. High Street
                                                                                                                                       Concluded
                                                                                           Columbus, OH 43215

       7.4.    Euler Hermes North America                        Civil                     Franklin County Common                      Pending
               Ins. Co. v. Exceptional                                                     Pleas                                       On appeal
               Innovation Inc.                                                             373 S. High Street                          Concluded
               18 CV 10031                                                                 Columbus, OH 43215

       7.5.    Guest Tek Interactive                             Civil                     US District Court SD of                     Pending
               Entertainment Ltd. v.                                                       Ohio                                        On appeal
               Exceptional Innovation, Inc.                                                                                            Concluded
               17- CV 963

       7.6.    Metropolis IP Inc. v.                             Civil                     Franklin County Common                      Pending
               Exceptional Innovation Inc.                                                 Pleas                                       On appeal
               Case No. 18 CV 6765                                                         373 S. High Street
                                                                                                                                       Concluded
                                                                                           Columbus, OH 43215

       7.7.    Robert Half International Inc.                    Civil                     Delaware County Common                      Pending
               vs. Exceptional Innovation                                                  Pleas Court                                 On appeal
               Inc.                                                                        91 North Sandusky Street
                                                                                                                                       Concluded
               18 cv H 11 0628                                                             Delaware, OH 43015

       7.8.    Steve Campbell, et al. v.                         Civil                     US District Court, SD of                    Pending
               Exceptional Innovation, Inc.,                                               Ohio                                        On appeal
               et al.
                                                                                                                                       Concluded
               19 CV 466

       7.9.    TEKsystems, Inc. v.                               Civil                     Delaware County Municipal                   Pending
               Exceptional Innovation, Inc.                                                Court                                       On appeal
               18 CVF 1568
                                                                                                                                       Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                             Desc Main
                                                                     Document     Page 55 of 81
 Debtor        Exceptional Innovation, Inc.                                                                 Case number (if known) 2:19-bk-50766



       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     Allen Stovall Neuman Fisher
                 & Ashton LLP
                 fka Allen Kuehnle Stovall &
                 Neuman LLP
                 17 S. High Street, Suite 1220                       from pre-petition retainer: 2/12/19
                 Columbus, OH 43215                                  ($3,500); 3/8/19 ($2,418)                                 various                    $5,918.30

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers             Total amount or
                                                                                                                        were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange              was made                           value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 2:19-bk-50766                       Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                            Desc Main
                                                                     Document     Page 56 of 81
 Debtor      Exceptional Innovation, Inc.                                                               Case number (if known) 2:19-bk-50766



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Exceptional Innovation, Inc. 401(K) Profit Sharing Plan                                    EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 2:19-bk-50766                       Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                          Desc Main
                                                                     Document     Page 57 of 81
 Debtor      Exceptional Innovation, Inc.                                                               Case number (if known) 2:19-bk-50766




          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
       offsite warehoue                                               unknown                             contents unknown                        No
                                                                                                                                                  Yes



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 2:19-bk-50766                       Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                                  Desc Main
                                                                     Document     Page 58 of 81
 Debtor      Exceptional Innovation, Inc.                                                               Case number (if known) 2:19-bk-50766



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    The SmarTV Company LLC                           hospitality technology; sole owner               EIN:

                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Dan Unthank


       26a.2.       Andrea Cranfill


       26a.3.       Dave Freeland


       26a.4.       others unknown



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 2:19-bk-50766                        Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                            Desc Main
                                                                     Document     Page 59 of 81
 Debtor      Exceptional Innovation, Inc.                                                               Case number (if known) 2:19-bk-50766




            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Seale Moorer                                   unknown                                             CEO                              unknown



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See response to #4 above
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    unknown; 401k information provided to chapter 7 Trustee                                                    EIN:




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
            Case 2:19-bk-50766                       Doc 20           Filed 03/12/19 Entered 03/12/19 18:34:15                         Desc Main
                                                                     Document     Page 60 of 81
 Debtor      Exceptional Innovation, Inc.                                                               Case number (if known) 2:19-bk-50766



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 12, 2019

 /s/ John J. Brannelly                                                  John J. Brannelly
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Former Director

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 61 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 62 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 63 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 64 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 65 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 66 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 67 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 68 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 69 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 70 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 71 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 72 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 73 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 74 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 75 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 76 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 77 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 78 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 79 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 80 of 81
Case 2:19-bk-50766   Doc 20    Filed 03/12/19 Entered 03/12/19 18:34:15   Desc Main
                              Document     Page 81 of 81
